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                              IN THE UNITED STATES DISTRICT COURT
 5
                               IN AND FOR THE DISTRICT OF ARIZONA
 6
     Labor Smart, Inc.,                                   Case No. 2:22-cv-00357-PHX-JJT
 7
                            Plaintiff,
     v.                                                  LABOR SMART INC.'S RULE 12(b)(6) AND
 8                                                          RULE 13(a) MOTION TO DISMISS 1
     Jason and Melissa Tucker,
 9
                            Defendants.
10

11            Plaintiff/Counterclaimant Labor Smart, Inc., through its counsel, pursuant to Rules

12   12(b)(6) and 13(a)(1), Federal Rules of Civil Procedure, moves to dismiss the First
     Amended Counterclaim. (Doc. 179) This Motion is supported by the attached
13
     Memorandum of Points and Authorities and the entire record in this case.
14
                       MEMORANDUM OF POINTS AND AUTHORITIES
15                                               Rule 12(b)(6) Motion

16              I.     Allegations in Counterclaim I: Breach of Contract.
              Counterclaim I alleges breach of two (2) contracts: first, the Labor Smart Bylaws,
17
     and second, a July 2021 Agreement. (Doc. 179, ¶’s 81 – 85.) 2
18
                       A.           Allegations Re: Labor Smart Bylaws.
19            The Tuckers allege on November 7, 2022, Third-Party Defendants Holley,
20   McBride and Pavlik “held a ‘Special Meeting of the Board of Directors of Labor Smart,

21   1
       Undersigned counsel certifies that before filing the Motion, he notified opposing counsel of the issues asserted in
     the Motion. Opposing counsel responded and the issues were personally discussed. The parties were unable to agree
22   that the Counterclaim was curable in any part by a permissible amendment.
     2
       Neither the Bylaws nor the July 2021 Agreement are attached to the Counterclaim. They are attached to this
23   Motion as Exhibits "A" and "B", respectively.
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 1
     Inc.’" (Doc. 179, ¶ 62.) The Tuckers then allege Labor Smart breached the Bylaws by
 2   taking certain actions, i.e., "holding an improper ‘Special Meeting,' removing Tucker

 3   from his LTNC positions, and depriving Tucker from voting the 17 Series A Preferred
     Shares he owned to conduct LTNC business,…” (Doc. 179, ¶ 82.)
 4
                       B.          Allegations Re: July 2021 Agreement.
 5
              The Tuckers allege:
 6            83. Additionally, LTNC is a party to the July 2021 agreement, signed by
              all of the Board of Directors of LTNC and promising Tucker 12 Preferred
 7            Shares (4 from each Holley, McBride, and Pavlik) and 750M common
              shares once LTNC received a “current” status from OTC markets. 3
 8
             84. Although LTNC has received “current’ status on the OTC markets, and
 9           despite that the Tuckers made demand for the Preferred and Common
             Shares owed by Holley and McBride, LTNC has refused to honor the July
10          2021 Agreement.
11              II.    Allegations in Counterclaim II: Abuse of Process.
12
              The Tuckers make only vague allegations to support the abuse of process claim.
13
              87. LTNC willfully used processes in this matter and has continued to
14            pursue claims it knows to be without merit in a wrongful manner that was
              not proper in the regular course of proceedings.
15
              88. LTNC has used this Court and the legal process for an improper
16            purpose and with ulterior motive(s).

17              III. Allegations in Counterclaim III: Aiding and Abetting
                     Tortious Misconduct.
18
              The Tuckers allege:
19
              10. The Tuckers are informed and believe that each of the individual
20            Third-Party Defendants [Holley, McBride, Pavlik and Zarro] took actions,
              both individually and as agent(s), employee(s), and/or representatives of
21            LTNC and/or Takeover and/or Next Gen. In taking such actions, each
              individual was acting within the course and scope of the agency,
22

23   3
       While it is true that Holley, McBride and Pavlik signed the July 2021 Agreement, they did so only in their
     individual capacities, not as agents or representatives of Labor Smart.
                                                            -2-
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 1           employment, and/or representation with knowledge, acquiescence, and/or
             ratification by each and every other Defendant for the acts taken such that
 2           joint liability applies. 4

 3           94. Through the actions described in this Complaint, LTNC knowingly and
             intentionally assisted, encouraged, participated, or caused:
 4
             a. Third-Party Defendants Holley, McBride, Pavlik to breach fiduciary
 5           duties owed to Tucker;
             b. Third-Party Defendants Holley, McBride, and Pavlik to interfere with
 6           Tucker’s voting rights in Takeover;
             c. Third-Party Defendants Holley, McBride, Pavlik, and Takeover to
 7           deprive Tucker of payments owed to him by Takeover;
             d. Third-Party Defendants Holley, McBride, Pavlik, and Takeover to
 8           commit fraud/enter a fraudulent Settlement Agreement in the Florida
             litigation;
 9           e. Third-Party Defendant to purposely interfere with the Tuckers’
             shares/ability to sell shares of LTNC stock;
10
             95. Moreover, LTNC has substantially participated in assisted Takeover in
11           shutting down its business, reopening under Next Gen, in an effort to avoid
             liabilities owed by Takeover to Jason Tucker (i.e., assisting Takeover and
12           committing a fraudulent transfer or avoidance).

13
             There are no allegations in the Counterclaim or Third-Party Complaint of any
14   alleged conduct by Labor Smart that was not also the conduct of either Holley, McBride

15   or Pavlik.
              IV. Labor Smart Complied With Its Bylaws.
16
                      A.       Requirements For a Special Meeting of the Board
17                             of Directors in the Labor Smart Bylaws.
             The Labor Smart Bylaws contain specific requirements for Special Meetings of
18
     the Board of Directors. In Article III (Directors), the Bylaws state:
19

20           SECTION 2. NUMBER AND QUALIFICATION OF DIRECTORS.
             The authorized number of directors shall be three (3) until changed by
21           amendment of the Articles or by a bylaw duly adopted by approval of the
             outstanding shares amending this Section 2.
22

23   4
      The Counterclaim does not identify what actions Holley, McBride or Pavlik took in their individual capacities, as
     opposed to actions as agents, employees or representatives of Labor Smart and/or Takeover and/or Next Gen.
                                                            -3-
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 1
             SECTION 6. SPECIAL MEETINGS. Special meetings of the Board for
 2           any purposes may be called at any time by the Chairman of the Board, the
             President, or the Secretary or a majority of the directors. Special meetings
 3           of the Board shall be held upon at least four (4) days written notice or
             forty-eight (48) hours' notice given personally or by telephone, telegraph,
 4           telex or other similar means of communication. Any such notice shall be
             addressed or delivered to each director at such director's address as it is
 5           shown upon the records of the Corporation or as may have been given to
             the Corporation by the director for the purposes of notice.
 6
             SECTION 7. QUORUM. A majority of the authorized number of
 7           directors constitutes a quorum of the Board for the transaction of business,
             except to adjourn as hereinafter provided. Every act or decision done or
 8           made by a majority of the directors present at a meeting duly held at which
             a quorum is present shall be regarded as the act of the Board, unless a
 9           greater number be required by law or by the Articles of Incorporation. A
             meeting at which a quorum is initially present may continue to transact
10           business notwithstanding the withdrawal of directors, if any action taken is
             approved by at least a majority of the number of directors required as
11           noted above to constitute a quorum for such meeting.

12                    B.       Labor Smart Complied with the Bylaws Re: Notice and
                               Voting at the November 7, 2022 Special Meeting of the
13                             Board of Directors.

14           On November 4, 2022, Jason Tucker was given "NOTICE OF SPECIAL

15   MEETING OF THE BOARD OF DIRECTORS OF LABOR SMART INC." 5 On the
     same day, Mr. Tucker's counsel, Ms. Manolio, confirmed receipt of the email and notice.6
16
     Despite having the Notice of the meeting, neither Mr. Tucker nor his attorney attended.
17
             Both Labor Smart Board members attended: Holley and McBride. 7 The quorum
18   requirement was satisfied. Both Mr. McBride and Mr. Holley approved all of the
19   Resolutions adopted at the Meeting.8 As set forth above, a majority of the authorized

20

21   5
       A copy of the email to all of the Board members, dated November 4, 2022 at 4:06 PM, with the Notice, is attached
     as Exhibit "C".
     6
       Ms. Manolio’s November 4, 2022 email, acknowledging receipt of the Notice, as well as emails back and forth
22   between attorneys Jennifer Reiter, Matthew Canini and Ms. Manolio are attached collectively as Exhibit "D".
     7
       Mr. Pavlik attended but was not a Board member.
23   8
       A copy of the November 7, 2022 Resolution of the Board of Directors of Labor Smart Inc. is attached as Exhibit
     "E".
                                                           -4-
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 1
     number of Directors constitutes a quorum for purposes of a Special Meeting. If a quorum
 2   is present, a decision by a majority of the Directors is "regarded as the act of the Board".

 3            There is no question that at the November 7, 2022 Special Meeting of the Board of
     Directors a quorum was present and a majority of those present voted in favor of the
 4
     Resolutions. Labor Smart complied with the terms of its Bylaws for the November 7,
 5
     2022 Special Meeting of the Directors. There was no "improper ‘Special Meeting’”. Mr.
 6   Tucker (and his counsel) voluntarily chose not to attend the meeting after acknowledging

 7   receipt of proper notice. 9

 8
                       C.       Labor Smart Did Not “[Remove] Tucker from His
                                LTNC Positions” or “[Deprive] Tucker from Voting
 9                              the 17 Series a Preferred Shares He Owned”
10            In addition to alleging the improper “Special Meeting”, the Tuckers allege Labor
     Smart “[removed] Tucker from his LTNC positions, and [deprived] Tucker from voting
11
     the 17 Series A Preferred Shares he owned to conduct LTNC business,…” (Doc 179, ¶
12
     82.) However, a careful review of the actual Labor Smart Resolutions (Exhibit “E”)
13   proves that none of those actions were actually taken.
14            With respect to Tucker, the only Resolutions adopted are as follows:

15            RESOLVED, Jason Tucker shall immediately turn over to the Board of
              Directors all contracts, documents, information, communications,
16            passwords and financial accounts of the Company;

17
              RESOLVED, the Board of Directors shall conduct a review of all actions
18            taken by Jason Tucker from September 21, 2021 to the present;

19            RESOLVED, the planned spinoff of Takeover is suspended for ninety
              days, while the Company undertakes a review of documents and
20            information concerning the transaction, which have been withheld by Jason

21
     9
      After Mr. Tucker and Ms. Manolio acknowledged receipt of the November 4, 2022 meeting (Exhibit “D”), Mr.
     Canini emailed a detailed response to Ms. Manolio, stating in part: “[W]e would like to give your clients an
22   opportunity to appear at Monday’s meeting and do not want them to be under the misimpression that their
     appearance is not required by virtue of some technical defect." (See Exhibit "D".) In response to both Mr. Canini
23   and Ms. Reiter, Ms. Manolio wrote: "Mr. Tucker will not participate; I will not participate; and I am instructing Mr.
     Pavlik not to participate (though I cannot control if he chooses to do so)." (See Exhibit "D".)
                                                             -5-
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 1           Tucker;

 2           RESOLVED, effective immediately, by exercise of a vote of the shares of
             TI [Takeover] owned by the Company, which is between 97.345% and
 3           100% of all issued and outstanding shares of TI, the Company hereby
             removes Jason Tucker from TI’s [NOT Labor Smart] Board of Directors
 4           and appoints Michael Holley to replace him.

 5
             There is nothing in any of these Resolutions “removing Tucker from his LTNC
 6   positions, or depriving Tucker from voting the 17 Series A Preferred Shares he owned to

 7   conduct LTNC business,…” The Resolution removing Mr. Tucker from the Board of
     Directors relates to Takeover, not Labor Smart.
 8
             IV.      Labor Smart Is Not a Party to the July 2021 Agreement.
 9

10           The July 2021 Agreement (Exhibit “B”) states:

11           This Agreement memorializes an Agreement made in Scottsdale, Arizona
             in July 2021 by and between Toby McBride, Michael Holley, Joseph "Joe"
12           Pavlik, in their respective positions as shareholders of Labor Smart, Inc., a
             Georgia Corporation and/or Takeover Industries, Inc. a Nevada
13           Corporation and/or in their individual capacities and Jason Tucker, an
             individual (collectively the "Parties").
14
             The Agreement was signed by Holley, McBride, Pavlik and Tucker. Labor Smart
15
     is not a party to the Agreement, and no one signed on behalf of Labor Smart. 10
16           In order to assert a claim for breach of contract, a party must allege the existence

17   of a contract, breach and resulting damages. First American Title Insurance Company v.
     Johnson Bank, 239 Ariz. 348, 372 P. 3d 292 (Sup. Ct. 2016). Here, the breach of contract
18
     claim against Labor Smart fails as a matter of law because there is no contract between
19
     Labor Smart and the Tuckers.
20

21

22   10
       The Tuckers separately allege the same claim for breach of contract against Third-Part Defendants Holley,
     McBride and Pavlik, i.e., "Holley, McBride and Pavlik each entered the July 2021 Agreement…" (Doc. 179, ¶’s
23   107, 113.)

                                                          -6-
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 1            IV. Labor Smart Is Not Liable for Abuse of Process.

 2          The elements an abuse of process claim are: (i) a willful act in the use of judicial
 3   process; (ii) for an ulterior purpose not proper in the regular conduct of the proceedings.
     A plaintiff must prove that one or more specifically judicially sanctioned processes have
 4
     been abused to establish an abuse of process claim. Crackel v. Allstate Ins. Co., 208 Ariz.
 5
     252, 92 P. 3d 882 (App. 2004). The term “process” encompasses the entire range of
 6   procedures incident to the litigation process. Nienstedt v. Wetzel, 133 Ariz. 348, 651 P.
 7   2d 876 (App. 1982).

 8          [T]he authorities recognize that there is no liability when the defendant has
            done nothing more than legitimately utilize the process for its authorized
 9          purposes, even though with bad intentions.

10                 .       .      .

            Liability should result only when the sense of awareness progresses to a
11          sense of purpose, and, in addition the utilization of the procedure for the
            purposes for which it was designed becomes so lacking in justification as to
12          lose its legitimate function is a reasonably justifiable litigation procedure.
13
     Id., pp. 881, 882.
14
              [S]ome definite act or threat not authorized by the process, or aimed at an
15
              objective not legitimate in the course of the process, is required; and there
              is no liability where the defendant has done nothing more than carry out
16
              the process to its authorized conclusion, even though with bad intentions.
17   Morn v. City of Phoenix, 152 Ariz. 164, 730 P. 2d 873, 877, citing Prosser and Keeton on
18   by Law of Torts, § 121 (5th ed. 1984).

19             [A] claimant must present evidence that the defendant committed a
               specific “willful act ... not proper in the regular conduct of the
20             proceedings” to support a claim for abuse of process and that evidence of
               the defendant's mere persistence in litigation, even if based on an
21             improper motive, does not sustain the tort. [Citation omitted.] (“[P]roof
               of a specific act in an abuse of process setting provides concrete
22             assurance that a process actually has been abused.”). Accordingly, we
               reject [plaintiffs’] contention that a generalized allegation that a
23             defendant has misused the litigation process as a whole can support a
                                                 -7-
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 1               claim of abuse of process. Rather, it must be based on something more
                 than the opposing party's mere persistence in the litigation.
 2
     Crackel, p. 888, ¶ 15.
 3          In contrast to the allegations here, in Nienstedt, the proof to support the abuse of

 4   process claim were substantial. For example, the defendant: (i) admitted that he
     misrepresented to the court the contents of tapes in his possession, (ii) entered a default
 5
     when he knew the trial court had set aside an identical default, and (iii) told the plaintiff’s
 6
     “that through this case he was going to make the Nienstedts’ attorney a rich man; that he
 7   [defendant] could break people financially (impliedly through subjecting them to legal

 8   fees and expenses); and, that because he was a lawyer representing himself it would not
     be necessary for him to incur similar fees and expenses.” Id., p. 880. Nothing of the sort
 9
     is alleged here.
10
            As discussed above, the Tuckers have only made a very generalized allegation that
11   Labor Smart “used processes” and “continued to pursue claims it knows to be without

12   merit in a wrongful manner that was not proper in the regular course of proceedings.”
     (Doc. 179, ¶ 87.) The Tuckers have not alleged any specific act in connection with the
13
     litigation process. Without alleging a specific act not proper in the regular conduct of the
14
     proceedings, a claim for abuse of process fails.
15          V.       Labor Smart Is Not Liable for Aiding and Abetting its Directors.

16          The Tuckers allege Third-Party Defendants Holley, McBride and Pavlik are liable
     for Breach of Fiduciary Duties (Claim I), Aiding and Abetting Tortious Conduct (Claim
17
     II), Breach of Contract (Claim III), Breach of Covenant of Good Faith and Fair Dealing
18
     (Claim IV), Conspiracy to Commit Fraudulent Transfer (Claim V), (Actual) Fraudulent
19   Transfer under A.R.S. 44 – 1004 (Claim VI), and (Constructive) Fraudulent Transfer

20   under A.R.S. 44 – 1004 (Claim VII). (Doc. 179, ¶’s 97 – 132.) Although not clear, at
     best, the Tuckers can only base their claim for aiding and abetting on the third-party tort
21
     claims.
22
            Pursuant to Arizona law, a claim that a person aided and abetted tortious
23   misconduct has three elements: (1) the primary tortfeasor must commit a tort that causes
                                                  -8-
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 1
     injury to the plaintiff; (2) the defendant must know that the primary tortfeasor’s conduct
 2   constitutes a breach of duty; and (3) the defendant must substantially assist or encourage

 3   the primary tortfeasor in the achievement of the breach. Wells Fargo Bank v. Arizona
     Laborers, Teamsters and Cement Masons Local No. 395 Pension Trust Fund, 201 Ariz.
 4
     474, 38 P. 3d 12 (Sup. Ct. 2002). The Tuckers allege Labor Smart aided and abetted its
 5
     own Directors (Holley, McBride and Pavlik) in the commission of the alleged claims.
 6          The Tuckers allege that “each of the individual Third-Party Defendants took

 7   actions, both individually and as agent(s), employee(s), and/or representatives of LTNC
     and/or Takeover and/or Next Gen. In taking such actions, each individual was acting
 8
     within the course and scope of the agency, employment, and/or representation with
 9
     knowledge, acquiescence, and/or ratification by each and every other Defendant for the
10   acts taken.” (Doc. 179, ¶ 10.) The Tuckers do not allege: (i) any conduct by Labor Smart

11   that is distinct or separate and apart from the alleged conduct of Holley, McBride and
     Pavlik; or (ii) what conduct was taken by the Third-Party Defendants on behalf of LTNC
12
     [Labor Smart], or Takeover or Next Gen. All of the alleged conduct by Labor Smart was
13
     by and through the conduct of Holley, McBride and Pavlik, its alleged agents, employees
14   or representatives. In short, the Counterclaim fails to identify what action was taken on

15   behalf of the entities.
            A claim for aiding and abetting requires at least two actors engaging in separate
16
     conduct. The Restatement clearly contemplates two actors engaging in separate conduct.
17
     “[f]or harm resulting to a third person from the tortious conduct of another, one is subject
18   to liability if he … knows that the other’s conduct constitutes a breach of duty and gives

19   substantial assistance or encouragement to the others so to conduct himself.” Kubli v.
     AmTrust Insurance Company of Kansas, 2019 WL 13196105 (D. Ariz.), citing
20
     Restatement (Second) of Torts § 876(b).
21
            In Kubli, the issue was whether the insurance company was liable for aiding and
22   abetting its insurance adjuster. The defendant insurance company filed a motion to

23   dismiss, arguing the insurance company cannot be liable for aiding and abetting where

                                                -9-
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 1
      the conduct of the insurance company is predicated entirely on the conduct of its
 2    insurance adjuster. “It would make little sense to say that the adjuster’s conduct

 3    substantially assisted or encouraged the insurer’s breach of duty when that very conduct
      was the breach of duty.” Id., *3.
 4
             [T]he Court agrees with Defendants that an aiding and abetting claim in
 5           the insurance bad faith context requires ‘some action taken by [the
             adjuster] separate and apart from the facts giving rise to the [bad faith]
 6           claim against’ the insurer. [Citation omitted.] In this case, Plaintiff has not
             argued that there is any separate conduct. Review of the complaint reveals
 7           that Plaintiff’s bad faith claim against AmTrust is predicated entirely on
             the conduct of Greer.… Because that same conduct is the basis for
 8           Plaintiff’s aiding and abetting claim against Greer, Plaintiff has failed to
             state a claim for aiding and abetting.
 9
      Id., *3. See also, Aguado v. XL Insurance America, --- F. Supp. 3d ---, *5 (D. Ariz.
10    2024), which held as follows:
11           Because the complaint alleges no action ‘taken by [Intercare] that is
             separate and apart from the facts giving rise to the claim against [XL
12           Insurance], Plaintiff has failed to state a claim for aiding and abetting
             against [Intercare].’
13
             In Swift v. Wesco Insurance Company, 2018 WL 11323085, *2 (D. Ariz.), the
14
      issue was “whether Plaintiff’s aiding and abetting claim is viable when it arises from the
15
      same actions upon which the principal tort is based.” The court granted a motion to
16    dismiss because the plaintiff alleged the same actions gave rise to both the bad faith claim
17    and the aiding and abetting claim. See also, Young v. Liberty Mut. Group, Inc., 2013 WL
      840618 (D. Ariz.).
18
             In order for Mr. Dumas and Liberty Mutual to have committed ‘tortious
19
             acts in concert,’ there must be some factual allegation showing a separate
             tortious act was committed by Mr. Dumas. Because the Complaint alleges
20
             no such facts, Plaintiff has failed to state a claim against Mr. Dumas.
21
             To state a claim for aiding and abetting tortious conduct, “[t]here must be some
22    distinction between the primary tort and the aiding and abetting conduct.” Counts v.
23    Technology Insurance Company Inc., 2019 WL 13195132, *2 (D. Ariz.). “Numerous
                                                  - 10 -
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 1
      cases in this District reinforce the determination that in order for Plaintiff’s aiding and
 2    abetting claim against Defendants S&C and Kerner to survive, she must allege some

 3    action taken by these defendants separate and apart from the facts giving rise to the claim
      against ALIC.” Centeno v. American Liberty Insurance Company, 2019 WL 568926 (D.
 4
      Ariz.).
 5
                Here, the Tuckers do not allege any conduct by Labor Smart beyond that which is
 6    alleged against Third Party Defendants Holley, McBride and Pavlik. Therefore, Count II

 7    must be dismissed.
                                               Rule 13(a)(1) Motion
 8
                Rule 13(a)(1), Federal Rules of Civil Procedure, states: “A pleading must state as a
 9
      counterclaim any claim that-at the time of its service-the pleader has against an opposing
10    party if the claim: (A) arises out of the transaction or occurrence that is the subject matter

11    of the opposing party’s claim;”
                VI.    Factual and Procedural Background.
12
                The Tuckers’ counsel, Ms. Manolio, has been involved in this case from its
13
      original filing date, when she filed the Complaint against Holley on behalf of then
14    Plaintiff Takeover Industries, Inc. (Doc. 1.) On May 20, 2022, the Tuckers were served

15    with the Labor Smart Third-Party Complaint. (Doc. 38.) On August 15, 2022, the
      Tuckers filed their Answer to the Third-Party Complaint. (Doc. 58.) No Counterclaim
16
      was alleged. Now, more than two years after service of the Labor Smart Complaint and
17
      almost two years after the Tuckers filed their Answer to the Labor Smart Complaint, the
18    Tuckers are attempting to assert a Counterclaim against Labor Smart. 11

19              Virtually all the allegations in the Counterclaim and Third-Party Complaint are
      identical to the allegations made in the original Complaint filed by Takeover (through
20
      Ms. Manolio) against Holley. For example, compare Counterclaim and Third-Party
21
      Complaint (Doc. 179), ¶’s 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 34, 35, 36, 37, 38,
22

23     The Tuckers are also seeking to add Third-Party claims against Takeover, Next Gen Beverages, LLC, Holley,
      11

      McBride, Pavlik and Zarro.
                                                          - 11 -
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 1
      39, 40, 47, 48, 49 and 50, to the Complaint (Doc. 1), ¶’s 9, 10, 11, 12, 13, 14, 15, 16, 17,
 2    18, 19, 20, 21, 25, 26, 27, 28, 29, 30, 31, 33, 34, 36, 37, 38 and 41. 12 The Tuckers waited

 3    more than two years to assert the Counterclaim and Third-Party Complaint, contrary to
      the requirements of Rule 13.
 4
              On May 1, 2023, this court entered an Order (Doc. 129) denying the Motion to
 5
      Realign Parties and Amend the Third-Party Complaint because it found Takeover failed
 6    to meet the threshold requirement of timeliness pursuant to Rule 24(a)(2). It is

 7    respectfully urged that the timeliness standard applies equally to Rule 13(a), which
      requires that a party must state as a counterclaim any claim that, at the time of its service,
 8
      the pleader has against an opposing party.
 9
              As is evident from the allegations in the original Complaint and the recently filed
10    First Amended Counterclaims and Third-Party Claims, the factual allegations against

11    Labor Smart (and Takeover) were known to the Tuckers as early as March 8, 2022, when
      the original Complaint was filed. Mr. Tucker is the individual who retained Ms. Manolio
12
      to represent Takeover. The facts were also well known to the Tuckers when they filed
13
      their Answer on August 15, 2022. The Tuckers have not satisfied the Rule 13(a)
14    requirement because, at the time of service of the Labor Smart Complaint (May 20,

15    2022), they had knowledge of the allegations in support of the Counterclaim but failed to
      assert the Counterclaim. Rule 13(a) requires that: “A pleading must state as a
16
      counterclaim any claim that-at the time of its service-the pleader has against an opposing
17
      party if the claim: (A) arises out of the transaction or occurrence that is the subject matter
18    of the opposing party’s claim;”

19

20

21

22
      12
        In the original Complaint, Ms. Manolio alleged Takeover was damaged by the alleged conduct of Holley. Now,
23    more than two years later, Ms. Manolio alleges the Tuckers are the party damaged by virtually the same alleged
      conduct.
                                                          - 12 -
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 1
             VI.    Conclusion.
 2           For all the foregoing reasons, the court should dismiss the Counterclaim pursuant

 3    to Rule 12(b)(6) because it fails to set forth a claim upon which relief can be granted, and
      because it is not timely pursuant to Rule 13(a)(1).
 4
             RESPECTIVELY SUBMITTED this 23rd day of October, 2024
 5
                                                          PAUL M. LEVINE, P.C.
 6
                                                  By: /s/ Paul M. Levine_
 7                                                    Paul M. Levine, Esq.
                                                      8502 E. Via de Ventura, Suite 230
                                                      Scottsdale, Arizona 85258
 8                                                    Attorney for Labor Smart, Inc.
 9
      ELECTRONICALLY filed
      this 23rd day of October, 2024.
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      /s /Sasha Bever
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